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   7

   8                        UNITED STATES DISTRICT COURT
   9
                      CENTRAL DISTRICT COURT OF CALIFORNIA
  10

  11
       Beach District Surgery Center           Case No.: 2:22-cv-01199-DSF-AGR
  12
                      Plaintiff,               First Amended Complaint For:
  13
             v.                                1. NEGLIGENT
  14                                              MISREPRESENTATION; AND
       United Healthcare Services, Inc., and   2. PROMISSORY ESTOPPEL
  15   DOES 1-10,
                                               Or in the alternative-
  16                  Defendant.
                                               3. RECOVERY OF BENEFITS
  17                                              UNDER 29 U.S.C. §1132 (a)(1)(B)
  18                                           (Jury Trial Requested)
                                               Total Damages - $500,000.00
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                                           Complaint
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   1         Plaintiff Beach District Surgery Center (hereinafter referred to as
   2   “PLAINTIFF” or “Medical Provider”) complains and alleges:
   3                                         PARTIES
   4         1.     Plaintiff, Medical Provider, is and at all relevant times was a medical
   5   corporation, organized and existing under the laws of the State of California.
   6   Medical Provider is and at all relevant times was in good standing under the laws of
   7   the State of California.
   8         2.     United Healthcare Services, Inc. (“Defendant”) is and was licensed to
   9   do business in and is and was doing business in the State of California. PLAINTIFF
  10   is informed and believes that Defendant is licensed to transact business in the State
  11   of California. Defendant is, in fact, transacting business in the State of California
  12   and is thereby subject to the laws and regulations of the State of California.
  13         3.     The true names and capacities, whether individual, corporate,
  14   associate, or otherwise, of defendants DOES 1 through 10, inclusive, are unknown
  15   to PLAINTIFF, who therefore sues said defendants by such fictitious names.
  16   PLAINTIFF is informed and believes and thereon alleges that each of the
  17   defendants designated herein as a DOE is legally responsible in some manner for
  18   the events and happenings referred to herein and legally caused injury and damages
  19   proximately thereby to PLAINTIFF. PLAINTIFF will seek leave of this Court to
  20   amend this Complaint to insert their true names and capacities in place and instead
  21   of the fictitious names when they become known to it.
  22         4.     At all times herein mentioned, unless otherwise indicated,
  23   DEFENDANT/s were the agents and/or employees of each of the remaining
  24   defendants, and were at all times acting within the purpose and scope of said
  25   agency and employment, and each defendant has ratified and approved the acts of
  26   his agent. At all times herein mentioned, DEFENDANT/s had actual or ostensible
  27   authority to act on each other’s behalf in certifying or authorizing the provision of
  28   services; processing and administering the claims and appeals; pricing the claims;
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                                          COMPLAINT
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   1   approving or denying the claims; directing each other as to whether and/or how to
   2   pay claims; issuing remittance advices and explanations of benefits statements;
   3   making payments to Medical Provider and its Patients.
   4                              GENERAL ALLEGATIONS
   5         5.     All of the claims asserted in this complaint are based upon the
   6   individual and proper rights of Medical Provider in its own individual capacity and
   7   are not derivative of the contractual or other rights of the Medical Provider’s
   8   Patient. A number of the claims asserted in this complaint arise out of the Medical
   9   Provider’s interactions with DEFENDANT and DOES 1 through 10, inclusive and
  10   are derived from the representations and warranties made during those
  11   conversations amongst those parties. Medical Provider does not in any way, seek to
  12   enforce the contractual rights of the Medical Provider’s Patients, through the
  13   Patients’ insurance contract, policies, certificates of coverage or other written
  14   insurance agreements.
  15         6.     This complaint arises out of the failure of DEFENDANT to make
  16   proper payments and/or the underpayment to Medical Provider by DEFENDANT
  17   and DOES 1 through 10, inclusive, of amounts due and owing now to Medical
  18   Provider for surgical care, treatment and procedures provided to Patients, who are
  19   insureds, members, policyholders, certificate-holders or were otherwise covered for
  20   health, hospitalization and major medical insurance through policies or certificates
  21   of insurance issued and underwritten by DEFENDANT and DOES 1 through 10,
  22   inclusive.
  23         7.     Medical Provider is informed and believes based on DEFENDANT’s
  24   oral and other representations that the Patient was an insured of DEFENDANT
  25   either as a subscriber to coverage or a dependent of a subscriber to coverage under a
  26   policy or certificate of insurance issued and underwritten by DEFENDANT and
  27   DOES 1 through 10, inclusive, and each of them. Medical Provider is informed and
  28   believes that the Patient entered into a valid insurance agreement with
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                                          COMPLAINT
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   1   DEFENDANT for the specific purpose of ensuring that the Patient would have
   2   access to medically necessary treatments, care, procedures and surgeries by medical
   3   practitioners like Medical Provider and ensuring that DEFENDANT would pay for
   4   the health care expenses incurred by the Patient.
   5         8.     Medical Provider is informed and believes that DEFENDANT and
   6   DOES 1 through 10, inclusive, and each of them, received and continue to receive,
   7   valuable premium payments from the Patient and/or other consideration from
   8   Patient under the subject policies applicable to Patient.
   9         9.     It is standard practice in the health care industry that when a medical
  10   provider enters into a written preferred provider contract with a health plan such as
  11   DEFENDANT, that a medical provider agrees to accept reimbursement that is
  12   discounted from the medical provider’s total billed charges in exchange for the
  13   benefits of being a preferred or contracted provider.
  14         10.    Those benefits include an increased volume of business, because the
  15   health plan provides financial and other incentives to its members to receive their
  16   medical care and treatments from the contracted provider, such as advertising that
  17   the provider is “in network”, and allowing the members to pay lower co-payments
  18   and deductibles to obtain care and treatment from a contracted provider.
  19         11.    Conversely, when a medical provider, such as Medical Provider, does
  20   not have a written contract or preferred provider agreement with a health plan, the
  21   medical provider receives no referrals from the health plan.
  22         12.    The medical provider has no obligation to reduce its charges. The
  23   health plan is not entitled to a discount from the medical provider’s total bill charge
  24   for the services rendered, because it is not providing the medical provider with in
  25   network medical provider benefits, such as increased patient volume and direct
  26   payment obligations.
  27         13.    The reason why medical providers have chosen to forgo the benefits of
  28   a contract with a payor is that, in recent years, many insurers including
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                                          COMPLAINT
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   1   DEFENDANT’s contracted rates for in-network providers have been so meager,
   2   one-sided and onerous, that many providers like Medical Provider have determined
   3   that they cannot afford to enter into such contracts. As a result, a growing number
   4   of medical providers have become non-contracted or out of network providers.
   5         14.    Payors and insurers still want their patients to be seen and so they
   6   commonly promise to pay out of network providers a percentage of the market rate
   7   for the procedure, also described as, an average payment for the procedure
   8   performed or provided by similarly situated medical providers within similarly
   9   situated areas or places of practice. Rather than use the words market rate to
  10   simplify terms, payors have long used words or combinations of words such as
  11   usual, reasonable, customary and allowed, all to mean an average payment for a
  12   procedure provided by similarly situated medical providers within similarly situated
  13   areas or places of practice (“UCR”).
  14         15.    The United States government provides a definition for the term UCR.
  15   “The amount paid for a medical service in a geographic area based on what
  16   providers in the area usually charge for the same or similar medical service. The
  17   UCR amount sometimes is used to determine the allowed amount.”1
  18         16.    Based upon these criteria, Medical Provider’s charges are usual,
  19   customary and reasonable. Medical Provider charged DEFENDANT the same fees
  20   that it charges all other payors. Medical Provider’s fees are comparable to the
  21   prevailing provider rates in the geographic areas to the one in which the services
  22   were provided.
  23         17.    DEFENDANT uses the term UCR in their policies.
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               See Healthcare.gov, UCR (Usual, Customary and Reasonable) (October 3,
  26   2021), https://www.healthcare.gov/glossary/UCR-usual-customary-and-reasonable/
  27   (defining UCR)

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                                          COMPLAINT
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   1         18.    When DEFENDANTS uses the term UCR for the price of a medical
   2   service, DEFEDANT will utilize a medical bill database from Fair Health Inc. or
   3   the like to determine the exact dollar amount to be paid for a medical claim.2
   4         19.    Fair Health Inc. is a database which is available to the public. It is
   5   available for purchase when utilized by entities like DEFENDANT and it is
   6   available for free in a more limited fashion for use by consumers.3
   7         20.    When a medical provider like PLAINTIFF is told that DEFENDANT
   8   will be paying a claim based on UCR, PLAINTIFF expects that DEFENDANT will
   9   be utilizing the Fair Health database to calculate the exact dollar amount that will
  10   be paid.
  11         21.    In the alternative and separately, Medical Provider is owed proper
  12   reimbursement in accordance with the Patient’s health plan. See Marin Gen. Hosp.
  13   v. Modesto & Empire Traction Co., 581 F.3d 941, 949 (9th Cir. 2009).
  14         22.    Medical Provider alleges that the Patients; health plans at issue in this
  15   litigation are health plans governed by the Employee Retirement Income Securities
  16   Act of 1974 (“ERISA”).
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  19           United Healthcare, Information on Payment of Out-of-Network Benefits
       (October 3, 2021), https://www.uhc.com/legal/information-on-payment-of-out-of-
  20
       network-benefits (“FH, [Fair Health], Benchmarking Database. One of two
  21   compilations of information on health care professional charges created by Fair
       Health and used by affiliates of UnitedHealth Group to determine payment for
  22
       out-of-network professional services when reimbursed under standards such as ‘the
  23   reasonable and customary amount,’ ‘the usual, reasonable and customary amount,’
       ‘the prevailing rate,’ or other similar terms that base payment on what other
  24
       healthcare professionals in a geographic area charge for their services.”
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             3
                See fairhealthconsumer.org, (October 3, 2021),
  26   https://www.fairhealthconsumer.org/medical/results (assisting consumers to
  27   calculate the amount to be paid for a particular medical procedure)

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                                          COMPLAINT
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   1         23.    Prior to services being rendered, Medical Provider obtained an
   2   assignment from each Patient granting Medical Provider the right to step into the
   3   shoes of each Patient with respect to each Patient’s rights under each Patient’s
   4   ERISA Plan, including but not limited to the right to seek proper reimbursement for
   5   medical services as well as to seek legal redress for DEFENDANTS’ failure to
   6   properly administer the terms of the ERISA Plan.
   7         24.    For each Patient’s claim, DEFENDANTS have waived or are estopped
   8   from asserting an anti-assignment provision were one even to exist. See Beverly
   9   Oaks Physicians Surgical Ctr., Ltd. Liab. Co. v. Blue Cross & Blue Shield of Ill.,
  10   983 F.3d 435, 437 (9th Cir. 2020).
  11         25.    For the claims at issue in this suit, Medical Provider has spent
  12   significant time and money in jumping through the necessary hoops in exhausting
  13   its administrative remedies under ERISA.
  14         26.    Medical Provider sent out multiple appeal letters to DEFENDANT and
  15   any further appeals would be futile as Medical Provider has received letters stating
  16   that DEFENDANT’s decision is final.
  17         27.    In either case, Medical Provider has a reputation for providing high
  18   quality care and, as a result, Medical Provider brings this suit to obtain appropriate
  19   compensation for Medical Provider’s services.
  20         28.    For no less than 26 medical procedures, Medical Provider provided
  21   facilities for at least 13 Patients from 2019 through 2021 who held insurance
  22   through Defendant.
  23         29.    Prior to providing services and in the case of each medical procedure,
  24   Medical Provider would contact Defendant to obtain representations and promises
  25   regarding the manner in which Defendant pays for medical services and the specific
  26   medical services at issue for each of the Patients.
  27         30.    In each instance, Medical Provider would obtain and document the
  28   name of each person on the phone and the time and date of the call.
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                                          COMPLAINT
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   1         31.    In each instance, Medical Provider would obtain the specific amounts
   2   remaining for each Patient’s deductible and max out of pocket expense (“MOOP”).
   3         32.    In each instance, Medical Provider would provide to Defendant the
   4   procedure codes that were at issue for each procedure and ask Defendant: in what
   5   manner do you pay for these procedures?
   6         33.    In each instance, Defendant would respond that Defendant makes
   7   payment based on UCR.
   8         34.    In each instance, Medical Provider would also ask for the specific
   9   procedure codes: does Defendant make payment based on Medicare?
  10         35.    In each instance, Defendant would respond that Defendant does not
  11   make payment for the Patients and those procedure codes based on Medicare.
  12         36.    All of the information obtained was documented by MEDICAL
  13   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
  14         37.    At no time prior to the provision of services to Patient by MEDICAL
  15   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
  16   certificate of insurance was subject to certain exclusions, limitations or
  17   qualifications, which might result in denial of coverage, limitation of payment or
  18   any other method of payment unrelated to the UCR rate.
  19         38.    DEFENDANT did not make reference to any other portion of Patient’s
  20   plan that would put MEDICAL PROVIDER on notice of any reduction in the
  21   originally stated payment percentage.
  22         39.    Despite representing that payment would be made at the UCR rate,
  23   DEFENDANT knew or should have known that it would not be paying Medical
  24   Provider at the UCR rate.
  25         40.    Despite representing that payment would not be made at a Medicare
  26   rate, DEFENDANT knew or should have known that it would be paying Medical
  27   Provider at a Medicare rate.
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                                          COMPLAINT
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   1         41.   MEDICAL PROVIDER was never provided with a copy of Patient’s
   2   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   3   even make itself aware of any reduction of the payment amount.
   4         42.   Medical Provider relied and provided services solely based on
   5   DEFENDANT’s statements, promises and representations. Statements which had
   6   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   7   may not have been based in the DEFENDANT or Patient’s plan documents, but
   8   that bore no consideration when Medical Provider agreed to provide medical
   9   services. Medical Provider took DEFENDANT at their word and promises and
  10   provided services based solely on those promises and representations.
  11         43.   In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
  12   DEFENDANT has failed to reimburse each Patient and now Medical Provider in
  13   accordance with the terms of each Patient’s health plan (“ERISA Plan”).
  14         44.   Each Patient provided to Medical Provider an assignment of their
  15   rights under the terms of each Patient’s ERISA Plan.
  16         45.   Following the provision of services to each Patient, Medical Provider
  17   submitted a bill or UB-04 to DEFENDANT which stated that Medical Provider had
  18   received an assignment from the Patient.
  19         46.   At no point in time did DEFENDANT state that there was an anti-
  20   assignment provision in each Patient’s ERISA Plan.
  21         47.   Medical Provider sent numerous appeal letters to DEFENDANT in
  22   accordance with ERISA to exhaust all of each Patient’s and now Medical
  23   Provider’s administrative remedies.
  24         48.   Medical Provider was never informed during this process that each
  25   Patient’s ERISA Plan had an anti-assignment provision and that DEFENDANT
  26   would only speak with each Patient.
  27         49.   DEFENDANT has made clear that Medical Provider has no further
  28   administrative remedies.
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                                        COMPLAINT
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    1         50.   In all cases DEFENDANT refused to make any additional payment.
    2         51.   Based on information and belief, Medical Provider asserts that under
    3   the terms of each Patient’s ERISA Plan, DEFENDANT was obligated to remit
    4   payment in the amount of a percentage of Medical Provider’s billed charge. Instead,
    5   DEFENDANT made payment to Medical Provider based on a Medicare fee
    6   schedule. As a result, DEFENDANT violated its duty to remit the appropriate
    7   payment under the terms of Patient’s ERISA Plan. Further, a review of each of the
    8   specific explanation of benefits (“EOB”) sent by DEFENDANT also demonstrate
    9   that DEFENDANT also violated its duty by failing to give a meaningful
   10   explanation within the EOB of the basis for DEFENDANT’s calculation and
   11   ultimate payment amount for the medical services received by each Patient.
   12         52.   Under either scenario, following the procedure, Medical Provider
   13   submitted to DEFENDANT any and all billing information required by
   14   DEFENDANT, including a total bill for all Patients of $696,976.75.
   15         53.   Following the procedure, MEDICAL PROVIDER submitted its claims
   16   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   17   other medical records. No matter whether large or small, all of MEDICAL
   18   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   19   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   20   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   21   information and any and all additional information requested by DEFENDANT.
   22         54.   DEFENDANT processed the bills and sent EOBs directed to
   23   MEDICAL PROVIDER, still not asserting an anti-assignment provision, and made
   24   a payment of $186,632.34.
   25         55.   The amount paid was a Medicare payment and was well below the
   26   billed amount owed under the terms of the ERISA Plan and well below the UCR
   27   amount represented during the separate oral communications between Medical
   28   Provider and DEFENDANT.
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                                         COMPLAINT
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    1                                   SPECIFIC FACTS
    2                                         Patient A
    3         56.    On December 10, 2020, Patient received a surgical procedure from
    4   Medical Provider.
    5         57.    On November 24, 2020, so as to determine whether or not to provide
    6   services, Medical Provider’s representative, R. Deleon spoke with DEFEDANT’s
    7   representative, Oscar A., regarding the manner in which Medical Provider would be
    8   paid for services.
    9         58.    The call reference number was 0791.
   10         59.    Medical Provider asked: what is the Patient’s responsibility versus
   11   Defendant’s responsibility for paying for medical services?
   12         60.    Defendant represented to Medical Provider that Patient’s deductible is
   13   and was $800.00 and Patient’s MOOP expense is and was $5,000.00 and that to
   14   date for that calendar year Patient had paid $233.80.
   15         61.    Medical Provider asked: does Defendant pay based on UCR for
   16   procedure codes 29881, and 29877 and other similar codes within the same family?
   17         62.    Defendant represented to Medical Provider that for services in
   18   connection with procedure codes 29881, and 29877, Defendant pays the UCR rate.
   19         63.    Medical Provider asked: does Defendant use a Medicare Fee Schedule
   20   to pay for procedure codes 29881, and 29877?
   21         64.    Defendant represented to Medical Provider that for services in
   22   connection with procedure codes 29881, and 29877 Defendant’s payment would
   23   not be based on the Medicare Fee Schedule.
   24         65.    All of the information obtained was documented by MEDICAL
   25   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   26         66.    At no time prior to the provision of services to Patient by MEDICAL
   27   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   28   certificate of insurance was subject to certain exclusions, limitations or
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                                           COMPLAINT
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    1   qualifications, which might result in denial of coverage, limitation of payment or
    2   any other method of payment unrelated to the UCR rate.
    3         67.    DEFENDANT did not make reference to any other portion of Patient’s
    4   plan that would put MEDICAL PROVIDER on notice of any reduction in the
    5   originally stated payment percentage.
    6         68.    Despite representing that payment would be made at the UCR rate,
    7   DEFENDANT knew or should have known that it would not be paying Medical
    8   Provider at the UCR rate.
    9         69.    Despite representing that payment would not be made at a Medicare
   10   rate, DEFENDANT knew or should have known that it would be paying Medical
   11   Provider at a Medicare rate.
   12         70.    MEDICAL PROVIDER was never provided with a copy of Patient’s
   13   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   14   even make itself aware of any reduction of the payment amount.
   15         71.    Medical Provider relied and provided services solely based on
   16   DEFENDANT’s statements, promises and representations. Statements which had
   17   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   18   may not have been based in the DEFENDANT or Patient’s plan documents, but
   19   that bore no consideration when Medical Provider agreed to provide medical
   20   services. Medical Provider took DEFENDANT at its word and promises and
   21   provided services based solely on those promises and representations.
   22         72.    In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   23   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   24   accordance with the terms of Patient’s ERISA Plan.
   25         73.    On or about November 24, 2020, Patient assigned all rights to
   26   reimbursement for medical services under Patient’s ERISA plan to Medical
   27   Provider.
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                                          COMPLAINT
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    1         74.    Following the medical procedure, Medical Provider submitted a bill or
    2   UB-04 to DEFENDANTS which stated that Medical Provider had received an
    3   assignment from the Patient.
    4         75.    At no point in time did DEFENDANT state that there was an anti-
    5   assignment provision in Patient’s ERISA Plan.
    6         76.    Over the next couple of months, Medical Provider sent numerous
    7   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    8   Patient’s and now Medical Provider’s administrative remedies.
    9         77.    Medical Provider was never informed during this process that Patient’s
   10   plan had an anti-assignment provision and that DEFENDANT would only speak
   11   with the Patient.
   12         78.    According to Patient’s Plan, Defendant was obligated to pay Medical
   13   Provider at the based on Plaintiff’s billed charge.
   14         79.    Instead, Medical Provider asserts that Defendant made payment based
   15   on the Medicare Fee Schedule.
   16         80.    As a result, DEFENDANT violated its duty to remit the appropriate
   17   payment under the terms of Patient’s ERISA Plan.
   18         81.    Further, a review of the specific explanation of benefits (“EOB”) sent
   19   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   20   failing to give a meaningful explanation within the EOB of the basis for
   21   DEFENDANT’s calculation and ultimate payment amount for the medical services
   22   received by Patient.
   23         82.    Under either scenario, following the procedure, Medical Provider
   24   submitted to DEFENDANT any and all billing information required by
   25   DEFENDANT, including a bill for $29,700.00.
   26         83.    Following the procedure, MEDICAL PROVIDER submitted its claims
   27   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   28   other medical records. No matter whether large or small, all of MEDICAL
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    1   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
    2   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
    3   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
    4   information and any and all additional information requested by DEFENDANT.
    5         84.    DEFENDANT processed the bill and made a payment $0.
    6         85.    The amount paid was below Medical Provider’s billed amount and
    7   below the UCR amount.
    8         86.    As of the date of this complaint, DEFENDANT has still refused to
    9   make the appropriate payment to Medical Provider and Medical Provider is entitled
   10   to that payment from DEFENDANT.
   11                                        Patient B
   12         87.    On October 26, 2021, Patient received a surgical procedure from
   13   Medical Provider.
   14         88.    On October 22, 2021, so as to determine whether or not to provide
   15   services, Medical Provider’s representative, N. Escoto spoke with DEFEDANT’s
   16   representative, regarding the manner in which Medical Provider would be paid for
   17   services.
   18         89.    The call reference number was 2206244237.
   19         90.    Medical Provider asked: what is the Patient’s responsibility versus
   20   Defendant’s responsibility for paying for medical services?
   21         91.    Defendant represented to Medical Provider that Patient’s deductible is
   22   and was $800.00 and Patient’s MOOP expense is and was $7,000.00 and that to
   23   date for that calendar year Patient had paid $800.00.
   24         92.    Medical Provider asked: does Defendant pay based on UCR for
   25   procedure codes 64483, and 64484 and other similar codes within the same family?
   26         93.    Defendant represented to Medical Provider that for services in
   27   connection with procedure codes 64483, and 64484, Defendant pays the UCR rate.
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                                          COMPLAINT
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    1         94.    Medical Provider asked: does Defendant use a Medicare Fee Schedule
    2   to pay for procedure codes 64483, and 64484?
    3         95.    Defendant represented to Medical Provider that for services in
    4   connection with procedure codes 64483, and 64484 Defendant’s payment would
    5   not be based on the Medicare Fee Schedule.
    6         96.    All of the information obtained was documented by MEDICAL
    7   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
    8         97.    At no time prior to the provision of services to Patient by MEDICAL
    9   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   10   certificate of insurance was subject to certain exclusions, limitations or
   11   qualifications, which might result in denial of coverage, limitation of payment or
   12   any other method of payment unrelated to the UCR rate.
   13         98.    DEFENDANT did not make reference to any other portion of Patient’s
   14   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   15   originally stated payment percentage.
   16         99.    Despite representing that payment would be made at the UCR rate,
   17   DEFENDANT knew or should have known that it would not be paying Medical
   18   Provider at the UCR rate.
   19         100. Despite representing that payment would not be made at a Medicare
   20   rate, DEFENDANT knew or should have known that it would be paying Medical
   21   Provider at a Medicare rate.
   22         101. MEDICAL PROVIDER was never provided with a copy of Patient’s
   23   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   24   even make itself aware of any reduction of the payment amount.
   25         102. Medical Provider relied and provided services solely based on
   26   DEFENDANT’s statements, promises and representations. Statements which had
   27   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   28   may not have been based in the DEFENDANT or Patient’s plan documents, but
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                                           COMPLAINT
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    1   that bore no consideration when Medical Provider agreed to provide medical
    2   services. Medical Provider took DEFENDANT at its word and promises and
    3   provided services based solely on those promises and representations.
    4         103. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
    5   DEFENDANT has failed to reimburse Patient and now Medical Provider in
    6   accordance with the terms of Patient’s ERISA Plan.
    7         104. On or about October 22, 2021, Patient assigned all rights to
    8   reimbursement for medical services under Patient’s ERISA plan to Medical
    9   Provider.
   10         105. Following the medical procedure, Medical Provider submitted a bill or
   11   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   12   assignment from the Patient.
   13         106. At no point in time did DEFENDANT state that there was an anti-
   14   assignment provision in Patient’s ERISA Plan.
   15         107. Over the next couple of months, Medical Provider sent numerous
   16   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   17   Patient’s and now Medical Provider’s administrative remedies.
   18         108. Medical Provider was never informed during this process that Patient’s
   19   plan had an anti-assignment provision and that DEFENDANT would only speak
   20   with the Patient.
   21         109. According to Patient’s Plan, Defendant was obligated to pay Medical
   22   Provider at the based on Plaintiff’s billed charge.
   23         110. Instead, Medical Provider asserts that Defendant made payment based
   24   on the Medicare Fee Schedule.
   25         111. As a result, DEFENDANT violated its duty to remit the appropriate
   26   payment under the terms of Patient’s ERISA Plan.
   27         112. Further, a review of the specific explanation of benefits (“EOB”) sent
   28   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
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                                           COMPLAINT
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    1   failing to give a meaningful explanation within the EOB of the basis for
    2   DEFENDANT’s calculation and ultimate payment amount for the medical services
    3   received by Patient.
    4         113. Under either scenario, following the procedure, Medical Provider
    5   submitted to DEFENDANT any and all billing information required by
    6   DEFENDANT, including a bill for $10,200.00.
    7         114. Following the procedure, MEDICAL PROVIDER submitted its claims
    8   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
    9   other medical records. No matter whether large or small, all of MEDICAL
   10   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   11   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   12   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   13   information and any and all additional information requested by DEFENDANT.
   14         115.    DEFENDANT processed the bill and made a payment $6,588.14.
   15         116. The amount paid was below Medical Provider’s billed amount and
   16   below the UCR amount.
   17         117. As of the date of this complaint, DEFENDANT has still refused to
   18   make the appropriate payment to Medical Provider and Medical Provider is entitled
   19   to that payment from DEFENDANT.
   20                                        Patient C
   21         118. On August 14, 2020, Patient received a surgical procedure from
   22   Medical Provider.
   23         119. On August 10, 2020, so as to determine whether or not to provide
   24   services, Medical Provider’s representative, K. Ceja spoke with DEFEDANT’s
   25   representative, Alicia, regarding the manner in which Medical Provider would be
   26   paid for services.
   27         120. The call reference number was 3491.
   28
                                             - 17 -
                                          COMPLAINT
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    1         121. Medical Provider asked: what is the Patient’s responsibility versus
    2   Defendant’s responsibility for paying for medical services?
    3         122. Defendant represented to Medical Provider that Patient’s deductible is
    4   and was $1,200.00 and Patient’s MOOP expense is and was $4,000.00 and that to
    5   date for that calendar year Patient had paid $0.
    6         123. Medical Provider asked: does Defendant pay based on UCR for
    7   procedure codes 30520, 30465 and 30140-50 and other similar codes within the
    8   same family?
    9         124. Defendant represented to Medical Provider that for services in
   10   connection with procedure codes 30520, 30465 and 30140-50, Defendant pays the
   11   UCR rate.
   12         125. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   13   to pay for procedure codes 30520, 30465 and 30140-50?
   14         126. Defendant represented to Medical Provider that for services in
   15   connection with procedure codes 30520, 30465 and 30140-50 Defendant’s payment
   16   would not be based on the Medicare Fee Schedule.
   17         127. All of the information obtained was documented by MEDICAL
   18   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   19         128. At no time prior to the provision of services to Patient by MEDICAL
   20   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   21   certificate of insurance was subject to certain exclusions, limitations or
   22   qualifications, which might result in denial of coverage, limitation of payment or
   23   any other method of payment unrelated to the UCR rate.
   24         129. DEFENDANT did not make reference to any other portion of Patient’s
   25   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   26   originally stated payment percentage.
   27

   28
                                                - 18 -
                                           COMPLAINT
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    1         130. Despite representing that payment would be made at the UCR rate,
    2   DEFENDANT knew or should have known that it would not be paying Medical
    3   Provider at the UCR rate.
    4         131. Despite representing that payment would not be made at a Medicare
    5   rate, DEFENDANT knew or should have known that it would be paying Medical
    6   Provider at a Medicare rate.
    7         132. MEDICAL PROVIDER was never provided with a copy of Patient’s
    8   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
    9   even make itself aware of any reduction of the payment amount.
   10         133. Medical Provider relied and provided services solely based on
   11   DEFENDANT’s statements, promises and representations. Statements which had
   12   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   13   may not have been based in the DEFENDANT or Patient’s plan documents, but
   14   that bore no consideration when Medical Provider agreed to provide medical
   15   services. Medical Provider took DEFENDANT at its word and promises and
   16   provided services based solely on those promises and representations.
   17         134. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   18   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   19   accordance with the terms of Patient’s ERISA Plan.
   20         135. On or about August 10, 2020, Patient assigned all rights to
   21   reimbursement for medical services under Patient’s ERISA plan to Medical
   22   Provider.
   23         136. Following the medical procedure, Medical Provider submitted a bill or
   24   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   25   assignment from the Patient.
   26         137. At no point in time did DEFENDANT state that there was an anti-
   27   assignment provision in Patient’s ERISA Plan.
   28
                                             - 19 -
                                         COMPLAINT
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    1         138. Over the next couple of months, Medical Provider sent numerous
    2   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    3   Patient’s and now Medical Provider’s administrative remedies.
    4         139. Medical Provider was never informed during this process that Patient’s
    5   plan had an anti-assignment provision and that DEFENDANT would only speak
    6   with the Patient.
    7         140. According to Patient’s Plan, Defendant was obligated to pay Medical
    8   Provider at the based on Plaintiff’s billed charge.
    9         141. Instead, Medical Provider asserts that Defendant made payment based
   10   on the Medicare Fee Schedule.
   11         142. As a result, DEFENDANT violated its duty to remit the appropriate
   12   payment under the terms of Patient’s ERISA Plan.
   13         143. Further, a review of the specific explanation of benefits (“EOB”) sent
   14   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   15   failing to give a meaningful explanation within the EOB of the basis for
   16   DEFENDANT’s calculation and ultimate payment amount for the medical services
   17   received by Patient.
   18         144. Under either scenario, following the procedure, Medical Provider
   19   submitted to DEFENDANT any and all billing information required by
   20   DEFENDANT, including a bill for $55,620.00.
   21         145. Following the procedure, MEDICAL PROVIDER submitted its claims
   22   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   23   other medical records. No matter whether large or small, all of MEDICAL
   24   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   25   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   26   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   27   information and any and all additional information requested by DEFENDANT.
   28         146.    DEFENDANT processed the bill and made a payment $17,415.66.
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                                           COMPLAINT
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    1         147. The amount paid was below Medical Provider’s billed amount and
    2   below the UCR amount.
    3         148. As of the date of this complaint, DEFENDANT has still refused to
    4   make the appropriate payment to Medical Provider and Medical Provider is entitled
    5   to that payment from DEFENDANT.
    6                                        Patient D
    7         149. On May 11, 2020, Patient received a surgical procedure from Medical
    8   Provider.
    9         150. On May 7, 2020, so as to determine whether or not to provide services,
   10   Medical Provider’s representative, K Ceja spoke with DEFEDANT’s
   11   representative, Sam, regarding the manner in which Medical Provider would be
   12   paid for services.
   13         151. The call reference number was 20050700013782.
   14         152. Medical Provider asked: what is the Patient’s responsibility versus
   15   Defendant’s responsibility for paying for medical services?
   16         153. Defendant represented to Medical Provider that Patient’s deductible is
   17   and was $1,000.00 and Patient’s MOOP expense is and was $6,000.00 and that to
   18   date for that calendar year Patient had paid $181.63.
   19         154. Medical Provider asked: does Defendant pay based on UCR for
   20   procedure codes 42826 and other similar codes within the same family?
   21         155. Defendant represented to Medical Provider that for services in
   22   connection with procedure code 42826, Defendant pays the UCR rate.
   23         156. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   24   to pay for procedure code 42826?
   25         157. Defendant represented to Medical Provider that for services in
   26   connection with procedure code 42826 Defendant’s payment would not be based on
   27   the Medicare Fee Schedule.
   28
                                              - 21 -
                                           COMPLAINT
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    1         158. All of the information obtained was documented by MEDICAL
    2   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
    3         159. At no time prior to the provision of services to Patient by MEDICAL
    4   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
    5   certificate of insurance was subject to certain exclusions, limitations or
    6   qualifications, which might result in denial of coverage, limitation of payment or
    7   any other method of payment unrelated to the UCR rate.
    8         160. DEFENDANT did not make reference to any other portion of Patient’s
    9   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   10   originally stated payment percentage.
   11         161. Despite representing that payment would be made at the UCR rate,
   12   DEFENDANT knew or should have known that it would not be paying Medical
   13   Provider at the UCR rate.
   14         162. Despite representing that payment would not be made at a Medicare
   15   rate, DEFENDANT knew or should have known that it would be paying Medical
   16   Provider at a Medicare rate.
   17         163. MEDICAL PROVIDER was never provided with a copy of Patient’s
   18   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   19   even make itself aware of any reduction of the payment amount.
   20         164. Medical Provider relied and provided services solely based on
   21   DEFENDANT’s statements, promises and representations. Statements which had
   22   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   23   may not have been based in the DEFENDANT or Patient’s plan documents, but
   24   that bore no consideration when Medical Provider agreed to provide medical
   25   services. Medical Provider took DEFENDANT at its word and promises and
   26   provided services based solely on those promises and representations.
   27

   28
                                                - 22 -
                                           COMPLAINT
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    1         165. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
    2   DEFENDANT has failed to reimburse Patient and now Medical Provider in
    3   accordance with the terms of Patient’s ERISA Plan.
    4         166. On or about May 7, 2020, Patient assigned all rights to reimbursement
    5   for medical services under Patient’s ERISA plan to Medical Provider.
    6         167. Following the medical procedure, Medical Provider submitted a bill or
    7   UB-04 to DEFENDANTS which stated that Medical Provider had received an
    8   assignment from the Patient.
    9         168. At no point in time did DEFENDANT state that there was an anti-
   10   assignment provision in Patient’s ERISA Plan.
   11         169. Over the next couple of months, Medical Provider sent numerous
   12   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   13   Patient’s and now Medical Provider’s administrative remedies.
   14         170. Medical Provider was never informed during this process that Patient’s
   15   plan had an anti-assignment provision and that DEFENDANT would only speak
   16   with the Patient.
   17         171. According to Patient’s Plan, Defendant was obligated to pay Medical
   18   Provider at the based on Plaintiff’s billed charge.
   19         172. Instead, Medical Provider asserts that Defendant made payment based
   20   on the Medicare Fee Schedule.
   21         173. As a result, DEFENDANT violated its duty to remit the appropriate
   22   payment under the terms of Patient’s ERISA Plan.
   23         174. Further, a review of the specific explanation of benefits (“EOB”) sent
   24   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   25   failing to give a meaningful explanation within the EOB of the basis for
   26   DEFENDANT’s calculation and ultimate payment amount for the medical services
   27   received by Patient.
   28
                                               - 23 -
                                           COMPLAINT
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    1         175. Under either scenario, following the procedure, Medical Provider
    2   submitted to DEFENDANT any and all billing information required by
    3   DEFENDANT, including a bill for $20,130.00.
    4         176. Following the procedure, MEDICAL PROVIDER submitted its claims
    5   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
    6   other medical records. No matter whether large or small, all of MEDICAL
    7   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
    8   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
    9   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   10   information and any and all additional information requested by DEFENDANT.
   11         177.   DEFENDANT processed the bill and made a payment $2,784.33.
   12         178. The amount paid was below Medical Provider’s billed amount and
   13   below the UCR amount.
   14         179. As of the date of this complaint, DEFENDANT has still refused to
   15   make the appropriate payment to Medical Provider and Medical Provider is entitled
   16   to that payment from DEFENDANT.
   17                                       Patient E
   18         180. On December 22, 2020, Patient received a surgical procedure from
   19   Medical Provider.
   20         181. On December 17, 2020, so as to determine whether or not to provide
   21   services, Medical Provider’s representative, R. Deleon, spoke with DEFEDANT’s
   22   representative, Emmanuel D., regarding the manner in which Medical Provider
   23   would be paid for services.
   24         182. The call reference number was 4280.
   25         183. Medical Provider asked: what is the Patient’s responsibility versus
   26   Defendant’s responsibility for paying for medical services?
   27

   28
                                             - 24 -
                                          COMPLAINT
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    1         184. Defendant represented to Medical Provider that Patient’s deductible is
    2   and was $6,000.00 and Patient’s MOOP expense is and was $14,000.00 and that to
    3   date for that calendar year Patient had paid $2,612.86.
    4         185. Medical Provider asked: does Defendant pay based on UCR for
    5   procedure codes 29881 and other similar codes within the same family?
    6         186. Defendant represented to Medical Provider that for services in
    7   connection with procedure codes 29881, Defendant pays the UCR rate.
    8         187. Medical Provider asked: does Defendant use a Medicare Fee Schedule
    9   to pay for procedure codes 29881?
   10         188. Defendant represented to Medical Provider that for services in
   11   connection with procedure codes 29881 Defendant’s payment would not be based
   12   on the Medicare Fee Schedule.
   13         189. All of the information obtained was documented by MEDICAL
   14   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   15         190. At no time prior to the provision of services to Patient by MEDICAL
   16   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   17   certificate of insurance was subject to certain exclusions, limitations or
   18   qualifications, which might result in denial of coverage, limitation of payment or
   19   any other method of payment unrelated to the UCR rate.
   20         191. DEFENDANT did not make reference to any other portion of Patient’s
   21   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   22   originally stated payment percentage.
   23         192. Despite representing that payment would be made at the UCR rate,
   24   DEFENDANT knew or should have known that it would not be paying Medical
   25   Provider at the UCR rate.
   26         193. Despite representing that payment would not be made at a Medicare
   27   rate, DEFENDANT knew or should have known that it would be paying Medical
   28   Provider at a Medicare rate.
                                                - 25 -
                                           COMPLAINT
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    1         194. MEDICAL PROVIDER was never provided with a copy of Patient’s
    2   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
    3   even make itself aware of any reduction of the payment amount.
    4         195. Medical Provider relied and provided services solely based on
    5   DEFENDANT’s statements, promises and representations. Statements which had
    6   no relation to DEFENDANT and Patient’s plan document, as the statements may or
    7   may not have been based in the DEFENDANT or Patient’s plan documents, but
    8   that bore no consideration when Medical Provider agreed to provide medical
    9   services. Medical Provider took DEFENDANT at its word and promises and
   10   provided services based solely on those promises and representations.
   11         196. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   12   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   13   accordance with the terms of Patient’s ERISA Plan.
   14         197. On or about December 17, 2020, Patient assigned all rights to
   15   reimbursement for medical services under Patient’s ERISA plan to Medical
   16   Provider.
   17         198. Following the medical procedure, Medical Provider submitted a bill or
   18   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   19   assignment from the Patient.
   20         199. At no point in time did DEFENDANT state that there was an anti-
   21   assignment provision in Patient’s ERISA Plan.
   22         200. Over the next couple of months, Medical Provider sent numerous
   23   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   24   Patient’s and now Medical Provider’s administrative remedies.
   25         201. Medical Provider was never informed during this process that Patient’s
   26   plan had an anti-assignment provision and that DEFENDANT would only speak
   27   with the Patient.
   28
                                             - 26 -
                                         COMPLAINT
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    1         202. According to Patient’s Plan, Defendant was obligated to pay Medical
    2   Provider at the based on Plaintiff’s billed charge.
    3         203. Instead, Medical Provider asserts that Defendant made payment based
    4   on the Medicare Fee Schedule.
    5         204. As a result, DEFENDANT violated its duty to remit the appropriate
    6   payment under the terms of Patient’s ERISA Plan.
    7         205. Further, a review of the specific explanation of benefits (“EOB”) sent
    8   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
    9   failing to give a meaningful explanation within the EOB of the basis for
   10   DEFENDANT’s calculation and ultimate payment amount for the medical services
   11   received by Patient.
   12         206. Under either scenario, following the procedure, Medical Provider
   13   submitted to DEFENDANT any and all billing information required by
   14   DEFENDANT, including a bill for $29,700.00.
   15         207. Following the procedure, MEDICAL PROVIDER submitted its claims
   16   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   17   other medical records. No matter whether large or small, all of MEDICAL
   18   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   19   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   20   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   21   information and any and all additional information requested by DEFENDANT.
   22         208.    DEFENDANT processed the bill and made a payment $4,066.90.
   23         209. The amount paid was below Medical Provider’s billed amount and
   24   below the UCR amount.
   25         210. As of the date of this complaint, DEFENDANT has still refused to
   26   make the appropriate payment to Medical Provider and Medical Provider is entitled
   27   to that payment from DEFENDANT.
   28                                         Patient F
                                               - 27 -
                                           COMPLAINT
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    1           211. On August 26, 2019, Patient received a surgical procedure from
    2   Medical Provider.
    3           212. On November 24, 2020, so as to determine whether or not to provide
    4   services, Medical Provider’s representative, K. Ceja, spoke with DEFEDANT’s
    5   representative, Grace, regarding the manner in which Medical Provider would be
    6   paid for services.
    7           213. The call reference number was 9200.
    8           214. Medical Provider asked: what is the Patient’s responsibility versus
    9   Defendant’s responsibility for paying for medical services?
   10           215. Defendant represented to Medical Provider that Patient’s deductible is
   11   and was $5,000.00 and Patient’s MOOP expense is and was $6,000.00 and that to
   12   date for that calendar year Patient had paid $1,296.50.
   13           216. Medical Provider asked: does Defendant pay based on UCR for
   14   procedure codes 63650, and 63650-59 and other similar codes within the same
   15   family?
   16           217. Defendant represented to Medical Provider that for services in
   17   connection with procedure codes 63650, and 63650-59, Defendant pays the UCR
   18   rate.
   19           218. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   20   to pay for procedure codes 63650, and 63650-59?
   21           219. Defendant represented to Medical Provider that for services in
   22   connection with procedure codes 63650, and 63650-59 Defendant’s payment would
   23   not be based on the Medicare Fee Schedule.
   24           220. All of the information obtained was documented by MEDICAL
   25   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   26           221. At no time prior to the provision of services to Patient by MEDICAL
   27   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   28   certificate of insurance was subject to certain exclusions, limitations or
                                               - 28 -
                                           COMPLAINT
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    1   qualifications, which might result in denial of coverage, limitation of payment or
    2   any other method of payment unrelated to the UCR rate.
    3         222. DEFENDANT did not make reference to any other portion of Patient’s
    4   plan that would put MEDICAL PROVIDER on notice of any reduction in the
    5   originally stated payment percentage.
    6         223. Despite representing that payment would be made at the UCR rate,
    7   DEFENDANT knew or should have known that it would not be paying Medical
    8   Provider at the UCR rate.
    9         224. Despite representing that payment would not be made at a Medicare
   10   rate, DEFENDANT knew or should have known that it would be paying Medical
   11   Provider at a Medicare rate.
   12         225. MEDICAL PROVIDER was never provided with a copy of Patient’s
   13   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   14   even make itself aware of any reduction of the payment amount.
   15         226. Medical Provider relied and provided services solely based on
   16   DEFENDANT’s statements, promises and representations. Statements which had
   17   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   18   may not have been based in the DEFENDANT or Patient’s plan documents, but
   19   that bore no consideration when Medical Provider agreed to provide medical
   20   services. Medical Provider took DEFENDANT at its word and promises and
   21   provided services based solely on those promises and representations.
   22         227. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   23   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   24   accordance with the terms of Patient’s ERISA Plan.
   25         228. On or about August 21, 2019, Patient assigned all rights to
   26   reimbursement for medical services under Patient’s ERISA plan to Medical
   27   Provider.
   28
                                                - 29 -
                                          COMPLAINT
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    1         229. Following the medical procedure, Medical Provider submitted a bill or
    2   UB-04 to DEFENDANTS which stated that Medical Provider had received an
    3   assignment from the Patient.
    4         230. At no point in time did DEFENDANT state that there was an anti-
    5   assignment provision in Patient’s ERISA Plan.
    6         231. Over the next couple of months, Medical Provider sent numerous
    7   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    8   Patient’s and now Medical Provider’s administrative remedies.
    9         232. Medical Provider was never informed during this process that Patient’s
   10   plan had an anti-assignment provision and that DEFENDANT would only speak
   11   with the Patient.
   12         233. According to Patient’s Plan, Defendant was obligated to pay Medical
   13   Provider at the based on Plaintiff’s billed charge.
   14         234. Instead, Medical Provider asserts that Defendant made payment based
   15   on the Medicare Fee Schedule.
   16         235. As a result, DEFENDANT violated its duty to remit the appropriate
   17   payment under the terms of Patient’s ERISA Plan.
   18         236. Further, a review of the specific explanation of benefits (“EOB”) sent
   19   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   20   failing to give a meaningful explanation within the EOB of the basis for
   21   DEFENDANT’s calculation and ultimate payment amount for the medical services
   22   received by Patient.
   23         237. Under either scenario, following the procedure, Medical Provider
   24   submitted to DEFENDANT any and all billing information required by
   25   DEFENDANT, including a bill for $49,575.00.
   26         238. Following the procedure, MEDICAL PROVIDER submitted its claims
   27   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   28   other medical records. No matter whether large or small, all of MEDICAL
                                               - 30 -
                                           COMPLAINT
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    1   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
    2   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
    3   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
    4   information and any and all additional information requested by DEFENDANT.
    5         239.      DEFENDANT processed the bill and made a payment $23,846.75.
    6         240. The amount paid was below Medical Provider’s billed amount and
    7   below the UCR amount.
    8         241. As of the date of this complaint, DEFENDANT has still refused to
    9   make the appropriate payment to Medical Provider and Medical Provider is entitled
   10   to that payment from DEFENDANT.
   11                                        Patient G
   12         242. On July 10, 2020, Patient received a surgical procedure from Medical
   13   Provider.
   14         243. On June 11, 2020, so as to determine whether or not to provide
   15   services, Medical Provider’s representative, K. Ceja spoke with DEFEDANT’s
   16   representative, Lee, regarding the manner in which Medical Provider would be paid
   17   for services.
   18         244. The call reference number was 7511.
   19         245. Medical Provider asked: what is the Patient’s responsibility versus
   20   Defendant’s responsibility for paying for medical services?
   21         246. Defendant represented to Medical Provider that Patient’s deductible is
   22   and was $1,200.00 and Patient’s MOOP expense is and was $4,000.00 and that to
   23   date for that calendar year Patient had paid $1,200.00.
   24         247. Medical Provider asked: does Defendant pay based on UCR for
   25   procedure codes 30520, 30140-50, 30130-50 and 30465 and other similar codes
   26   within the same family?
   27

   28
                                              - 31 -
                                          COMPLAINT
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    1         248. Defendant represented to Medical Provider that for services in
    2   connection with procedure codes 30520, 30140-50, 30130-50 and 30465,
    3   Defendant pays the UCR rate.
    4         249. Medical Provider asked: does Defendant use a Medicare Fee Schedule
    5   to pay for procedure codes 30520, 30140-50, 30130-50 and 30465?
    6         250. Defendant represented to Medical Provider that for services in
    7   connection with procedure codes 30520, 30140-50, 30130-50 and 30465
    8   Defendant’s payment would not be based on the Medicare Fee Schedule.
    9         251. All of the information obtained was documented by MEDICAL
   10   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   11         252. At no time prior to the provision of services to Patient by MEDICAL
   12   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   13   certificate of insurance was subject to certain exclusions, limitations or
   14   qualifications, which might result in denial of coverage, limitation of payment or
   15   any other method of payment unrelated to the UCR rate.
   16         253. DEFENDANT did not make reference to any other portion of Patient’s
   17   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   18   originally stated payment percentage.
   19         254. Despite representing that payment would be made at the UCR rate,
   20   DEFENDANT knew or should have known that it would not be paying Medical
   21   Provider at the UCR rate.
   22         255. Despite representing that payment would not be made at a Medicare
   23   rate, DEFENDANT knew or should have known that it would be paying Medical
   24   Provider at a Medicare rate.
   25         256. MEDICAL PROVIDER was never provided with a copy of Patient’s
   26   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   27   even make itself aware of any reduction of the payment amount.
   28
                                                - 32 -
                                           COMPLAINT
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    1         257. Medical Provider relied and provided services solely based on
    2   DEFENDANT’s statements, promises and representations. Statements which had
    3   no relation to DEFENDANT and Patient’s plan document, as the statements may or
    4   may not have been based in the DEFENDANT or Patient’s plan documents, but
    5   that bore no consideration when Medical Provider agreed to provide medical
    6   services. Medical Provider took DEFENDANT at its word and promises and
    7   provided services based solely on those promises and representations.
    8         258. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
    9   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   10   accordance with the terms of Patient’s ERISA Plan.
   11         259. On or about June 11, 2020, Patient assigned all rights to
   12   reimbursement for medical services under Patient’s ERISA plan to Medical
   13   Provider.
   14         260. Following the medical procedure, Medical Provider submitted a bill or
   15   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   16   assignment from the Patient.
   17         261. At no point in time did DEFENDANT state that there was an anti-
   18   assignment provision in Patient’s ERISA Plan.
   19         262. Over the next couple of months, Medical Provider sent numerous
   20   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   21   Patient’s and now Medical Provider’s administrative remedies.
   22         263. Medical Provider was never informed during this process that Patient’s
   23   plan had an anti-assignment provision and that DEFENDANT would only speak
   24   with the Patient.
   25         264. According to Patient’s Plan, Defendant was obligated to pay Medical
   26   Provider at the based on Plaintiff’s billed charge.
   27         265. Instead, Medical Provider asserts that Defendant made payment based
   28   on the Medicare Fee Schedule.
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                                           COMPLAINT
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    1         266. As a result, DEFENDANT violated its duty to remit the appropriate
    2   payment under the terms of Patient’s ERISA Plan.
    3         267. Further, a review of the specific explanation of benefits (“EOB”) sent
    4   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
    5   failing to give a meaningful explanation within the EOB of the basis for
    6   DEFENDANT’s calculation and ultimate payment amount for the medical services
    7   received by Patient.
    8         268. Under either scenario, following the procedure, Medical Provider
    9   submitted to DEFENDANT any and all billing information required by
   10   DEFENDANT, including a bill for $52,365.00.
   11         269. Following the procedure, MEDICAL PROVIDER submitted its claims
   12   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   13   other medical records. No matter whether large or small, all of MEDICAL
   14   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   15   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   16   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   17   information and any and all additional information requested by DEFENDANT.
   18         270.   DEFENDANT processed the bill and made a payment $19,389.55.
   19         271. The amount paid was below Medical Provider’s billed amount and
   20   below the UCR amount.
   21         272. As of the date of this complaint, DEFENDANT has still refused to
   22   make the appropriate payment to Medical Provider and Medical Provider is entitled
   23   to that payment from DEFENDANT.
   24                                        Patient H
   25         273. On June 9, 2020, Patient received a surgical procedure from Medical
   26   Provider.
   27         274. On June 3, 2020, so as to determine whether or not to provide services,
   28   Medical Provider’s representative, K. Ceja spoke with DEFEDANT’s
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                                          COMPLAINT
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    1   representative, Scarlett, regarding the manner in which Medical Provider would be
    2   paid for services.
    3         275. The call reference number was 9768.
    4         276. Medical Provider asked: what is the Patient’s responsibility versus
    5   Defendant’s responsibility for paying for medical services?
    6         277. Defendant represented to Medical Provider that Patient’s deductible is
    7   and was $9,200.00 and Patient’s MOOP expense is and was $11,000.00 and that to
    8   date for that calendar year Patient had paid $0.
    9         278. Medical Provider asked: does Defendant pay based on UCR for
   10   procedure codes 28120 and other similar codes within the same family?
   11         279. Defendant represented to Medical Provider that for services in
   12   connection with procedure codes 28120, Defendant pays the UCR rate.
   13         280. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   14   to pay for procedure codes 28120?
   15         281. Defendant represented to Medical Provider that for services in
   16   connection with procedure codes 28120 Defendant’s payment would not be based
   17   on the Medicare Fee Schedule.
   18         282. All of the information obtained was documented by MEDICAL
   19   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   20         283. At no time prior to the provision of services to Patient by MEDICAL
   21   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   22   certificate of insurance was subject to certain exclusions, limitations or
   23   qualifications, which might result in denial of coverage, limitation of payment or
   24   any other method of payment unrelated to the UCR rate.
   25         284. DEFENDANT did not make reference to any other portion of Patient’s
   26   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   27   originally stated payment percentage.
   28
                                                - 35 -
                                           COMPLAINT
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    1         285. Despite representing that payment would be made at the UCR rate,
    2   DEFENDANT knew or should have known that it would not be paying Medical
    3   Provider at the UCR rate.
    4         286. Despite representing that payment would not be made at a Medicare
    5   rate, DEFENDANT knew or should have known that it would be paying Medical
    6   Provider at a Medicare rate.
    7         287. MEDICAL PROVIDER was never provided with a copy of Patient’s
    8   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
    9   even make itself aware of any reduction of the payment amount.
   10         288. Medical Provider relied and provided services solely based on
   11   DEFENDANT’s statements, promises and representations. Statements which had
   12   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   13   may not have been based in the DEFENDANT or Patient’s plan documents, but
   14   that bore no consideration when Medical Provider agreed to provide medical
   15   services. Medical Provider took DEFENDANT at its word and promises and
   16   provided services based solely on those promises and representations.
   17         289. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   18   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   19   accordance with the terms of Patient’s ERISA Plan.
   20         290. On or about June 3, 2020, Patient assigned all rights to reimbursement
   21   for medical services under Patient’s ERISA plan to Medical Provider.
   22         291. Following the medical procedure, Medical Provider submitted a bill or
   23   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   24   assignment from the Patient.
   25         292. At no point in time did DEFENDANT state that there was an anti-
   26   assignment provision in Patient’s ERISA Plan.
   27

   28
                                             - 36 -
                                         COMPLAINT
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    1         293. Over the next couple of months, Medical Provider sent numerous
    2   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    3   Patient’s and now Medical Provider’s administrative remedies.
    4         294. Medical Provider was never informed during this process that Patient’s
    5   plan had an anti-assignment provision and that DEFENDANT would only speak
    6   with the Patient.
    7         295. According to Patient’s Plan, Defendant was obligated to pay Medical
    8   Provider at the based on Plaintiff’s billed charge.
    9         296. Instead, Medical Provider asserts that Defendant made payment based
   10   on the Medicare Fee Schedule.
   11         297. As a result, DEFENDANT violated its duty to remit the appropriate
   12   payment under the terms of Patient’s ERISA Plan.
   13         298. Further, a review of the specific explanation of benefits (“EOB”) sent
   14   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   15   failing to give a meaningful explanation within the EOB of the basis for
   16   DEFENDANT’s calculation and ultimate payment amount for the medical services
   17   received by Patient.
   18         299. Under either scenario, following the procedure, Medical Provider
   19   submitted to DEFENDANT any and all billing information required by
   20   DEFENDANT, including a bill for $29,700.00.
   21         300. Following the procedure, MEDICAL PROVIDER submitted its claims
   22   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   23   other medical records. No matter whether large or small, all of MEDICAL
   24   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   25   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   26   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   27   information and any and all additional information requested by DEFENDANT.
   28         301.    DEFENDANT processed the bill and made a payment $251.21.
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                                           COMPLAINT
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    1         302. The amount paid was below Medical Provider’s billed amount and
    2   below the UCR amount.
    3         303. As of the date of this complaint, DEFENDANT has still refused to
    4   make the appropriate payment to Medical Provider and Medical Provider is entitled
    5   to that payment from DEFENDANT.
    6                                         Patient I
    7         304. On April 7, 2020, Patient received a surgical procedure from Medical
    8   Provider.
    9         305. On April 6, 2020, so as to determine whether or not to provide
   10   services, Medical Provider’s representative, V. Collier spoke with DEFEDANT’s
   11   representative, Jasmine, regarding the manner in which Medical Provider would be
   12   paid for services.
   13         306. The call reference number was 9871.
   14         307. Medical Provider asked: what is the Patient’s responsibility versus
   15   Defendant’s responsibility for paying for medical services?
   16         308. Defendant represented to Medical Provider that Patient’s deductible is
   17   and was $1,200.00 and Patient’s MOOP expense is and was $4,000.00 and that to
   18   date for that calendar year Patient had paid $0.
   19         309. Medical Provider asked: does Defendant pay based on UCR for
   20   procedure codes 25605, 25607, and 29125 and other similar codes within the same
   21   family?
   22         310. Defendant represented to Medical Provider that for services in
   23   connection with procedure codes 25605, 25607, and 29125, Defendant pays the
   24   UCR rate.
   25         311. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   26   to pay for procedure codes 25605, 25607, and 29125?
   27

   28
                                              - 38 -
                                           COMPLAINT
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    1         312. Defendant represented to Medical Provider that for services in
    2   connection with procedure codes 25605, 25607, and 29125 Defendant’s payment
    3   would not be based on the Medicare Fee Schedule.
    4         313. All of the information obtained was documented by MEDICAL
    5   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
    6         314. At no time prior to the provision of services to Patient by MEDICAL
    7   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
    8   certificate of insurance was subject to certain exclusions, limitations or
    9   qualifications, which might result in denial of coverage, limitation of payment or
   10   any other method of payment unrelated to the UCR rate.
   11         315. DEFENDANT did not make reference to any other portion of Patient’s
   12   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   13   originally stated payment percentage.
   14         316. Despite representing that payment would be made at the UCR rate,
   15   DEFENDANT knew or should have known that it would not be paying Medical
   16   Provider at the UCR rate.
   17         317. Despite representing that payment would not be made at a Medicare
   18   rate, DEFENDANT knew or should have known that it would be paying Medical
   19   Provider at a Medicare rate.
   20         318. MEDICAL PROVIDER was never provided with a copy of Patient’s
   21   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   22   even make itself aware of any reduction of the payment amount.
   23         319. Medical Provider relied and provided services solely based on
   24   DEFENDANT’s statements, promises and representations. Statements which had
   25   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   26   may not have been based in the DEFENDANT or Patient’s plan documents, but
   27   that bore no consideration when Medical Provider agreed to provide medical
   28
                                                - 39 -
                                           COMPLAINT
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    1   services. Medical Provider took DEFENDANT at its word and promises and
    2   provided services based solely on those promises and representations.
    3         320. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
    4   DEFENDANT has failed to reimburse Patient and now Medical Provider in
    5   accordance with the terms of Patient’s ERISA Plan.
    6         321. On or about April 6, 2020, Patient assigned all rights to reimbursement
    7   for medical services under Patient’s ERISA plan to Medical Provider.
    8         322. Following the medical procedure, Medical Provider submitted a bill or
    9   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   10   assignment from the Patient.
   11         323. At no point in time did DEFENDANT state that there was an anti-
   12   assignment provision in Patient’s ERISA Plan.
   13         324. Over the next couple of months, Medical Provider sent numerous
   14   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   15   Patient’s and now Medical Provider’s administrative remedies.
   16         325. Medical Provider was never informed during this process that Patient’s
   17   plan had an anti-assignment provision and that DEFENDANT would only speak
   18   with the Patient.
   19         326. According to Patient’s Plan, Defendant was obligated to pay Medical
   20   Provider at the based on Plaintiff’s billed charge.
   21         327. Instead, Medical Provider asserts that Defendant made payment based
   22   on the Medicare Fee Schedule.
   23         328. As a result, DEFENDANT violated its duty to remit the appropriate
   24   payment under the terms of Patient’s ERISA Plan.
   25         329. Further, a review of the specific explanation of benefits (“EOB”) sent
   26   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   27   failing to give a meaningful explanation within the EOB of the basis for
   28
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                                           COMPLAINT
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    1   DEFENDANT’s calculation and ultimate payment amount for the medical services
    2   received by Patient.
    3         330. Under either scenario, following the procedure, Medical Provider
    4   submitted to DEFENDANT any and all billing information required by
    5   DEFENDANT, including a bill for $29,724.75.
    6         331. Following the procedure, MEDICAL PROVIDER submitted its claims
    7   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
    8   other medical records. No matter whether large or small, all of MEDICAL
    9   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   10   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   11   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   12   information and any and all additional information requested by DEFENDANT.
   13         332.    DEFENDANT processed the bill and made a payment $141.55.
   14         333. The amount paid was below Medical Provider’s billed amount and
   15   below the UCR amount.
   16         334. As of the date of this complaint, DEFENDANT has still refused to
   17   make the appropriate payment to Medical Provider and Medical Provider is entitled
   18   to that payment from DEFENDANT.
   19                                        Patient J
   20         335. On August 26, 2019, Patient received a surgical procedure from
   21   Medical Provider.
   22         336. On November 24, 2020, so as to determine whether or not to provide
   23   services, Medical Provider’s representative, K. Ceja spoke with DEFEDANT’s
   24   representative, Sophie, regarding the manner in which Medical Provider would be
   25   paid for services.
   26         337. The call reference number was 8057.
   27         338. Medical Provider asked: what is the Patient’s responsibility versus
   28   Defendant’s responsibility for paying for medical services?
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                                          COMPLAINT
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    1         339. Defendant represented to Medical Provider that Patient’s deductible is
    2   and was $1,000.00 and Patient’s MOOP expense is and was $5,600.00 and that to
    3   date for that calendar year Patient had paid $608.71.
    4         340. Medical Provider asked: does Defendant pay based on UCR for
    5   procedure codes 27659, and 27695 and other similar codes within the same family?
    6         341. Defendant represented to Medical Provider that for services in
    7   connection with procedure codes 27659, and 27695, Defendant pays the UCR rate.
    8         342. Medical Provider asked: does Defendant use a Medicare Fee Schedule
    9   to pay for procedure codes 27659, and 27695?
   10         343. Defendant represented to Medical Provider that for services in
   11   connection with procedure codes 27659, and 27695 Defendant’s payment would
   12   not be based on the Medicare Fee Schedule.
   13         344. All of the information obtained was documented by MEDICAL
   14   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   15         345. At no time prior to the provision of services to Patient by MEDICAL
   16   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   17   certificate of insurance was subject to certain exclusions, limitations or
   18   qualifications, which might result in denial of coverage, limitation of payment or
   19   any other method of payment unrelated to the UCR rate.
   20         346. DEFENDANT did not make reference to any other portion of Patient’s
   21   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   22   originally stated payment percentage.
   23         347. Despite representing that payment would be made at the UCR rate,
   24   DEFENDANT knew or should have known that it would not be paying Medical
   25   Provider at the UCR rate.
   26         348. Despite representing that payment would not be made at a Medicare
   27   rate, DEFENDANT knew or should have known that it would be paying Medical
   28   Provider at a Medicare rate.
                                                - 42 -
                                           COMPLAINT
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    1         349. MEDICAL PROVIDER was never provided with a copy of Patient’s
    2   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
    3   even make itself aware of any reduction of the payment amount.
    4         350. Medical Provider relied and provided services solely based on
    5   DEFENDANT’s statements, promises and representations. Statements which had
    6   no relation to DEFENDANT and Patient’s plan document, as the statements may or
    7   may not have been based in the DEFENDANT or Patient’s plan documents, but
    8   that bore no consideration when Medical Provider agreed to provide medical
    9   services. Medical Provider took DEFENDANT at its word and promises and
   10   provided services based solely on those promises and representations.
   11         351. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   12   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   13   accordance with the terms of Patient’s ERISA Plan.
   14         352. On or about August 23, 2019, Patient assigned all rights to
   15   reimbursement for medical services under Patient’s ERISA plan to Medical
   16   Provider.
   17         353. Following the medical procedure, Medical Provider submitted a bill or
   18   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   19   assignment from the Patient.
   20         354. At no point in time did DEFENDANT state that there was an anti-
   21   assignment provision in Patient’s ERISA Plan.
   22         355. Over the next couple of months, Medical Provider sent numerous
   23   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   24   Patient’s and now Medical Provider’s administrative remedies.
   25         356. Medical Provider was never informed during this process that Patient’s
   26   plan had an anti-assignment provision and that DEFENDANT would only speak
   27   with the Patient.
   28
                                             - 43 -
                                         COMPLAINT
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    1         357. According to Patient’s Plan, Defendant was obligated to pay Medical
    2   Provider at the based on Plaintiff’s billed charge.
    3         358. Instead, Medical Provider asserts that Defendant made payment based
    4   on the Medicare Fee Schedule.
    5         359. As a result, DEFENDANT violated its duty to remit the appropriate
    6   payment under the terms of Patient’s ERISA Plan.
    7         360. Further, a review of the specific explanation of benefits (“EOB”) sent
    8   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
    9   failing to give a meaningful explanation within the EOB of the basis for
   10   DEFENDANT’s calculation and ultimate payment amount for the medical services
   11   received by Patient.
   12         361. Under either scenario, following the procedure, Medical Provider
   13   submitted to DEFENDANT any and all billing information required by
   14   DEFENDANT, including a bill for $29,700.00.
   15         362. Following the procedure, MEDICAL PROVIDER submitted its claims
   16   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   17   other medical records. No matter whether large or small, all of MEDICAL
   18   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   19   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   20   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   21   information and any and all additional information requested by DEFENDANT.
   22         363.    DEFENDANT processed the bill and made a payment $6,883.25.
   23         364. The amount paid was below Medical Provider’s billed amount and
   24   below the UCR amount.
   25         365. As of the date of this complaint, DEFENDANT has still refused to
   26   make the appropriate payment to Medical Provider and Medical Provider is entitled
   27   to that payment from DEFENDANT.
   28                                         Patient K
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                                           COMPLAINT
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    1         366. On September 3, 2019 and November 26, 2019, Patient received a
    2   surgical procedure from Medical Provider.
    3         367. On August 29, 2019 and November 20, 2019, so as to determine
    4   whether or not to provide services, Medical Provider’s representative, K. Ceja
    5   spoke with DEFEDANT’s representatives, Ariel and Jennifer, regarding the manner
    6   in which Medical Provider would be paid for services.
    7         368. The call reference number for each call was 2331, and 7699.
    8         369. Medical Provider asked: what is the Patient’s responsibility versus
    9   Defendant’s responsibility for paying for medical services?
   10         370. Defendant represented to Medical Provider that Patient’s deductible is
   11   and was $3,750.00 and Patient’s MOOP expense is and was $7,500.00 and that to
   12   date for that calendar year Patient had paid $0.
   13         371. Medical Provider asked: does Defendant pay based on UCR for
   14   procedure codes 28297, 58563 and 29898 and other similar codes within the same
   15   family?
   16         372. Defendant represented to Medical Provider that for services in
   17   connection with procedure codes 28297, 58563 and 29898, Defendant pays the
   18   UCR rate.
   19         373. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   20   to pay for procedure codes 28297, 58563 and 29898?
   21         374. Defendant represented to Medical Provider that for services in
   22   connection with procedure codes 28297, 58563 and 29898 Defendant’s payment
   23   would not be based on the Medicare Fee Schedule.
   24         375. All of the information obtained was documented by MEDICAL
   25   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   26         376. At no time prior to the provision of services to Patient by MEDICAL
   27   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   28   certificate of insurance was subject to certain exclusions, limitations or
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                                           COMPLAINT
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    1   qualifications, which might result in denial of coverage, limitation of payment or
    2   any other method of payment unrelated to the UCR rate.
    3         377. DEFENDANT did not make reference to any other portion of Patient’s
    4   plan that would put MEDICAL PROVIDER on notice of any reduction in the
    5   originally stated payment percentage.
    6         378. Despite representing that payment would be made at the UCR rate,
    7   DEFENDANT knew or should have known that it would not be paying Medical
    8   Provider at the UCR rate.
    9         379. Despite representing that payment would not be made at a Medicare
   10   rate, DEFENDANT knew or should have known that it would be paying Medical
   11   Provider at a Medicare rate.
   12         380. MEDICAL PROVIDER was never provided with a copy of Patient’s
   13   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   14   even make itself aware of any reduction of the payment amount.
   15         381. Medical Provider relied and provided services solely based on
   16   DEFENDANT’s statements, promises and representations. Statements which had
   17   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   18   may not have been based in the DEFENDANT or Patient’s plan documents, but
   19   that bore no consideration when Medical Provider agreed to provide medical
   20   services. Medical Provider took DEFENDANT at its word and promises and
   21   provided services based solely on those promises and representations.
   22         382. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   23   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   24   accordance with the terms of Patient’s ERISA Plan.
   25         383. On or about August 29, 2019, Patient assigned all rights to
   26   reimbursement for medical services under Patient’s ERISA plan to Medical
   27   Provider.
   28
                                                - 46 -
                                          COMPLAINT
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    1         384. Following the medical procedure, Medical Provider submitted a bill or
    2   UB-04 to DEFENDANTS which stated that Medical Provider had received an
    3   assignment from the Patient.
    4         385. At no point in time did DEFENDANT state that there was an anti-
    5   assignment provision in Patient’s ERISA Plan.
    6         386. Over the next couple of months, Medical Provider sent numerous
    7   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    8   Patient’s and now Medical Provider’s administrative remedies.
    9         387. Medical Provider was never informed during this process that Patient’s
   10   plan had an anti-assignment provision and that DEFENDANT would only speak
   11   with the Patient.
   12         388. According to Patient’s Plan, Defendant was obligated to pay Medical
   13   Provider at the based on Plaintiff’s billed charge.
   14         389. Instead, Medical Provider asserts that Defendant made payment based
   15   on the Medicare Fee Schedule.
   16         390. As a result, DEFENDANT violated its duty to remit the appropriate
   17   payment under the terms of Patient’s ERISA Plan.
   18         391. Further, a review of the specific explanation of benefits (“EOB”) sent
   19   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   20   failing to give a meaningful explanation within the EOB of the basis for
   21   DEFENDANT’s calculation and ultimate payment amount for the medical services
   22   received by Patient.
   23         392. Under either scenario, following the procedure, Medical Provider
   24   submitted to DEFENDANT any and all billing information required by
   25   DEFENDANT, including a total bill for $60,169.50.
   26         393. Following the procedure, MEDICAL PROVIDER submitted its claims
   27   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   28   other medical records. No matter whether large or small, all of MEDICAL
                                               - 47 -
                                           COMPLAINT
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    1   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
    2   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
    3   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
    4   information and any and all additional information requested by DEFENDANT.
    5         394.    DEFENDANT processed the bill and made a payment $30,935.02.
    6   Defendant stated that the basis for the amount it paid was an agreement that
    7   Medical Provider had with a third party contracting network called Multiplan.
    8   However, Defendant did not actually pay Medical Provider in accordance with
    9   Medical Provider’s Multiplan contract as Medical Provider is owed 93% of its
   10   billed charge based on Medical Provider’s Multiplan contract.
   11         395. The amount paid was below Medical Provider’s billed amount,
   12   Medical Provider’s Multiplan contract and below the UCR amount.
   13         396. As of the date of this complaint, DEFENDANT has still refused to
   14   make the appropriate payment to Medical Provider and Medical Provider is entitled
   15   to that payment from DEFENDANT.
   16                                        Patient L
   17         397. On March 18, 2020, Patient received a surgical procedure from
   18   Medical Provider.
   19         398. On March 10, 2020, so as to determine whether or not to provide
   20   services, Medical Provider’s representative, N. Espinoza spoke with DEFEDANT’s
   21   representative, Tony, regarding the manner in which Medical Provider would be
   22   paid for services.
   23         399. The call reference number was 6815.
   24         400. Medical Provider asked: what is the Patient’s responsibility versus
   25   Defendant’s responsibility for paying for medical services?
   26         401. Defendant represented to Medical Provider that Patient’s deductible is
   27   and was $1,000.00 and Patient’s MOOP expense is and was $5,000.00 and that to
   28   date for that calendar year Patient had paid $693.31.
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                                          COMPLAINT
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    1         402. Medical Provider asked: does Defendant pay based on UCR for
    2   procedure codes 49585, and 49568 and other similar codes within the same family?
    3         403. Defendant represented to Medical Provider that for services in
    4   connection with procedure codes 49585, and 49568, Defendant pays the UCR rate.
    5         404. Medical Provider asked: does Defendant use a Medicare Fee Schedule
    6   to pay for procedure codes 49585, and 49568?
    7         405. Defendant represented to Medical Provider that for services in
    8   connection with procedure codes 49585, and 49568 Defendant’s payment would
    9   not be based on the Medicare Fee Schedule.
   10         406. All of the information obtained was documented by MEDICAL
   11   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   12         407. At no time prior to the provision of services to Patient by MEDICAL
   13   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   14   certificate of insurance was subject to certain exclusions, limitations or
   15   qualifications, which might result in denial of coverage, limitation of payment or
   16   any other method of payment unrelated to the UCR rate.
   17         408. DEFENDANT did not make reference to any other portion of Patient’s
   18   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   19   originally stated payment percentage.
   20         409. Despite representing that payment would be made at the UCR rate,
   21   DEFENDANT knew or should have known that it would not be paying Medical
   22   Provider at the UCR rate.
   23         410. Despite representing that payment would not be made at a Medicare
   24   rate, DEFENDANT knew or should have known that it would be paying Medical
   25   Provider at a Medicare rate.
   26         411. MEDICAL PROVIDER was never provided with a copy of Patient’s
   27   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
   28   even make itself aware of any reduction of the payment amount.
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                                           COMPLAINT
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    1         412. Medical Provider relied and provided services solely based on
    2   DEFENDANT’s statements, promises and representations. Statements which had
    3   no relation to DEFENDANT and Patient’s plan document, as the statements may or
    4   may not have been based in the DEFENDANT or Patient’s plan documents, but
    5   that bore no consideration when Medical Provider agreed to provide medical
    6   services. Medical Provider took DEFENDANT at its word and promises and
    7   provided services based solely on those promises and representations.
    8         413. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
    9   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   10   accordance with the terms of Patient’s ERISA Plan.
   11         414. On or about March 10, 2020, Patient assigned all rights to
   12   reimbursement for medical services under Patient’s ERISA plan to Medical
   13   Provider.
   14         415. Following the medical procedure, Medical Provider submitted a bill or
   15   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   16   assignment from the Patient.
   17         416. At no point in time did DEFENDANT state that there was an anti-
   18   assignment provision in Patient’s ERISA Plan.
   19         417. Over the next couple of months, Medical Provider sent numerous
   20   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
   21   Patient’s and now Medical Provider’s administrative remedies.
   22         418. Medical Provider was never informed during this process that Patient’s
   23   plan had an anti-assignment provision and that DEFENDANT would only speak
   24   with the Patient.
   25         419. According to Patient’s Plan, Defendant was obligated to pay Medical
   26   Provider at the based on Plaintiff’s billed charge.
   27         420. Instead, Medical Provider asserts that Defendant made payment based
   28   on the Medicare Fee Schedule.
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                                           COMPLAINT
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    1         421. As a result, DEFENDANT violated its duty to remit the appropriate
    2   payment under the terms of Patient’s ERISA Plan.
    3         422. Further, a review of the specific explanation of benefits (“EOB”) sent
    4   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
    5   failing to give a meaningful explanation within the EOB of the basis for
    6   DEFENDANT’s calculation and ultimate payment amount for the medical services
    7   received by Patient.
    8         423. Under either scenario, following the procedure, Medical Provider
    9   submitted to DEFENDANT any and all billing information required by
   10   DEFENDANT, including a bill for $42,595.00.
   11         424. Following the procedure, MEDICAL PROVIDER submitted its claims
   12   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   13   other medical records. No matter whether large or small, all of MEDICAL
   14   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   15   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   16   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   17   information and any and all additional information requested by DEFENDANT.
   18         425.   DEFENDANT processed the bill and made a payment $2,138.65.
   19         426. The amount paid was below Medical Provider’s billed amount and
   20   below the UCR amount.
   21         427. As of the date of this complaint, DEFENDANT has still refused to
   22   make the appropriate payment to Medical Provider and Medical Provider is entitled
   23   to that payment from DEFENDANT.
   24                                       Patient M
   25         428. On October 24, 2019, August 14, 2020, August 28, 2020, September
   26   11, 2020, September 25, 2020, November 6, 2020, December 4, 2020, January 29,
   27   2021, April 16, 2021, June 4, 2021, July 2, 2021, July 16, 2021, and August 27,
   28   2021 Patient received a surgical procedure from Medical Provider.
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                                          COMPLAINT
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    1         429. Within a week, prior to each procedure, so as to determine whether or
    2   not to provide services, Medical Provider’s representative spoke with
    3   DEFEDANT’s representative, regarding the manner in which Medical Provider
    4   would be paid for services.
    5         430. Medical Provider asked: what is the Patient’s responsibility versus
    6   Defendant’s responsibility for paying for medical services?
    7         431. Defendant represented to Medical Provider that Patient’s deductible is
    8   and was $1,000.00 and Patient’s MOOP expense is and was $5,000.00.
    9         432. Medical Provider asked: does Defendant pay based on UCR for the
   10   specific procedure codes representing the procedures to be provided?
   11         433. Defendant represented to Medical Provider that for services in
   12   connection with the procedures Defendant pays the UCR rate.
   13         434. Medical Provider asked: does Defendant use a Medicare Fee Schedule
   14   to pay for the procedures?
   15         435. Defendant represented to Medical Provider that for services in
   16   connection with the procedures Defendant’s payment would not be based on the
   17   Medicare Fee Schedule.
   18         436. All of the information obtained was documented by MEDICAL
   19   PROVIDER as part of MEDICAL PROVIDER’s office policy and practice.
   20         437. At no time prior to the provision of services to Patient by MEDICAL
   21   PROVIDER was MEDICAL PROVIDER advised that Patient’s policy or
   22   certificate of insurance was subject to certain exclusions, limitations or
   23   qualifications, which might result in denial of coverage, limitation of payment or
   24   any other method of payment unrelated to the UCR rate.
   25         438. DEFENDANT did not make reference to any other portion of Patient’s
   26   plan that would put MEDICAL PROVIDER on notice of any reduction in the
   27   originally stated payment percentage.
   28
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                                           COMPLAINT
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    1         439. Despite representing that payment would be made at the UCR rate,
    2   DEFENDANT knew or should have known that it would not be paying Medical
    3   Provider at the UCR rate.
    4         440. Despite representing that payment would not be made at a Medicare
    5   rate, DEFENDANT knew or should have known that it would be paying Medical
    6   Provider at a Medicare rate.
    7         441. MEDICAL PROVIDER was never provided with a copy of Patient’s
    8   plan by DEFENDANT or Patient. As a result, MEDICAL PROVIDER could not
    9   even make itself aware of any reduction of the payment amount.
   10         442. Medical Provider relied and provided services solely based on
   11   DEFENDANT’s statements, promises and representations. Statements which had
   12   no relation to DEFENDANT and Patient’s plan document, as the statements may or
   13   may not have been based in the DEFENDANT or Patient’s plan documents, but
   14   that bore no consideration when Medical Provider agreed to provide medical
   15   services. Medical Provider took DEFENDANT at its word and promises and
   16   provided services based solely on those promises and representations.
   17         443. In the alternative, pursuant to 29 U.S.C. §1132 (a)(1)(B)
   18   DEFENDANT has failed to reimburse Patient and now Medical Provider in
   19   accordance with the terms of Patient’s ERISA Plan.
   20         444. On or about October 22, 2019, Patient assigned all rights to
   21   reimbursement for medical services under Patient’s ERISA plan to Medical
   22   Provider.
   23         445. Following the medical procedure, Medical Provider submitted a bill or
   24   UB-04 to DEFENDANTS which stated that Medical Provider had received an
   25   assignment from the Patient.
   26         446. At no point in time did DEFENDANT state that there was an anti-
   27   assignment provision in Patient’s ERISA Plan.
   28
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                                         COMPLAINT
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    1         447. Over the next couple of months, Medical Provider sent numerous
    2   appeal letters to DEFENDANT in accordance with ERISA to exhaust all of
    3   Patient’s and now Medical Provider’s administrative remedies.
    4         448. Medical Provider was never informed during this process that Patient’s
    5   plan had an anti-assignment provision and that DEFENDANT would only speak
    6   with the Patient.
    7         449. According to Patient’s Plan, Defendant was obligated to pay Medical
    8   Provider at the based on Plaintiff’s billed charge.
    9         450. Instead, Medical Provider asserts that Defendant made payment based
   10   on the Medicare Fee Schedule.
   11         451. As a result, DEFENDANT violated its duty to remit the appropriate
   12   payment under the terms of Patient’s ERISA Plan.
   13         452. Further, a review of the specific explanation of benefits (“EOB”) sent
   14   by DEFENDANT also demonstrate that DEFENDANT also violated its duty by
   15   failing to give a meaningful explanation within the EOB of the basis for
   16   DEFENDANT’s calculation and ultimate payment amount for the medical services
   17   received by Patient.
   18         453. Under either scenario, following the procedure, Medical Provider
   19   submitted to DEFENDANT any and all billing information required by
   20   DEFENDANT, including a total bill for $300,392.50.
   21         454. Following the procedure, MEDICAL PROVIDER submitted its claims
   22   to DEFENDANT accompanied with lengthy operative reports, chart notes, and
   23   other medical records. No matter whether large or small, all of MEDICAL
   24   PROVIDER’s claims were submitted to DEFENDANT using CPT codes,
   25   Healthcare Common Procedure Coding System (“HCPCS”), and modifiers, as
   26   necessary. MEDICAL PROVIDER submitted to DEFENDANT any and all billing
   27   information and any and all additional information requested by DEFENDANT.
   28         455.    DEFENDANT processed the bill and made a payment $66,921.06.
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                                           COMPLAINT
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    1           456. The amount paid was below Medical Provider’s billed amount and
    2   below the UCR amount.
    3           457. As of the date of this complaint, DEFENDANT has still refused to
    4   make the appropriate payment to Medical Provider and Medical Provider is entitled
    5   to that payment from DEFENDANT.
    6                              FIRST CAUSE OF ACTION
    7                     FOR NEGLIGENT MISREPRESENTATION
    8           1.    Medical Provider incorporates by reference all previous paragraphs as
    9   though fully set forth herein.
   10           2.    DEFENDANT falsely represented to Medical Provider that payment
   11   for services would be based on UCR and not Medicare.
   12           3.    DEFENDANT knew that any payment made to Medical Provider
   13   would not be made the UCR rate and would instead be made at the Medicare rate.
   14           4.    DEFENDANT should have known that in making the representations
   15   that payment would be made at the UCR and not Medicare rate that Medical
   16   Provider would go on to provide the services.
   17           5.    Medical Provider then relied on DEFENDANT’s misrepresentation
   18   and provided the services to Patients.
   19           6.    DEFENDANT made payment based on a Medicare rate not a UCR
   20   rate.
   21           7.    Medical Provider has been damaged in not receiving payment at the
   22   represented UCR rate.
   23                             SECOND CAUSE OF ACTION
   24                              PROMISSORY ESTOPPEL
   25           8.    Medical Provider incorporates by reference all previous paragraphs as
   26   though fully set forth herein.
   27           9.    DEFENDANT promised and asserted that the procedures to be
   28   performed and which were performed for and on the Patients were covered,
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                                           COMPLAINT
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    1   authorized, certified and would be paid for at the UCR rate and not based on
    2   Medicare.
    3           10.   Medical Provider only decided to provide services because they were
    4   assured that payment would be made at the UCR rate not based on Medicare.
    5           11.   After assuring and promising Medical Provider that payment would be
    6   at the UCR rate, DEFENDANT should have reasonably expected that Medical
    7   Provider would then go on to provide medical services expecting that payment
    8   would be made at that rate.
    9           12.   Medical Provider did rely on the statements, assertions and promises
   10   of DEFENDANT and provided the medical services to the Patients.
   11           13.   DEFENDANT made payment based on a Medicare rate not a UCR
   12   rate.
   13           14.   As a direct and proximate result of DEFENDANT’s
   14   misrepresentations, Medical Provider has been damaged in an amount equal to the
   15   amount of money Medical Provider should have received had DEFENDANT paid
   16   the UCR rate.
   17           15.   The detriment suffered by Medical Provider is the amount required to
   18   make Medical Provider whole, for the time, cost and money expended in providing
   19   medical services to Patients. As a further direct, legal and proximate result of
   20   Medical Provider’s detrimental reliance on the oral agreement and the
   21   misrepresentations of defendants, and each of them, Medical Provider has been
   22   damaged due to the loss of monies expended in providing said medical services for
   23   which it was significantly underpaid and has suffered damages in the loss of use of
   24   the proceeds and income to be derived from the medical services.
   25           16.   In light of the material representations and misrepresentations of
   26   DEFENDANT made to Medical Provider, and of Medical Provider’s reliance on
   27   the oral agreement, and oral representations made by DEFENDANT and each of
   28   them, and based upon Medical Provider’s detrimental reliance thereon,
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                                           COMPLAINT
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    1   DEFENDANT, and each of them, are estopped from denying payment and
    2   indemnification for Patient’s treatment at the UCR rate. An amount to be
    3   determined at the time of trial.
    4

    5                              THIRD CAUSE OF ACTION
    6         ENFORCEMENT UNDER 29 U.S.C § 1132 (a)(1)(B) FOR FAILURE TO
    7                             PAY ERISA PLAN BENEFITS
    8           17.   Medical Provider incorporates by reference all previous paragraphs as
    9   though fully set forth herein.
   10           18.   This cause of action is alleged by Medical Provider for relief in
   11   connection with claims for medical services rendered in connection with healthcare
   12   benefits plans administered and/or underwritten by DEFENDANT.
   13           19.   Medical Provider seeks to recover benefits and enforce rights to
   14   benefits under 29 U.S.C. §1132 (a)(1)(B). Medical Provider has standing to pursue
   15   these claims as the assignee of member/patient’s rights. As the assignee of rights,
   16   Medical Provider is a “beneficiary” entitled to collect benefits, and is the
   17   “claimant” for purposes of the ERISA statute and regulations. ERISA authorizes
   18   actions under 29 U.S.C. § 1132 (a)(1)(B) to be brought directly against
   19   DEFENDANTS the parties with actual control over the benefit and payment
   20   determinations with respect to Medical Provider’s claims.
   21           20.   DEFENDANT was a direct participant in the claims administration
   22   process,
   23           21.   By reason of the foregoing, Medical Provider is entitled to recover
   24   ERISA benefits due and owing in an amount to be proven at trial, and Medical
   25   Provider seeks recovery of such benefits by way of the present action.
   26   ///
   27   ///
   28   ///
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                                            COMPLAINT
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    9   ///
   10                                 PRAYER FOR RELIEF
   11          WHEREFORE, Beach District Surgery Center prays for judgment against
   12   defendants as follows:
   13          1.     For compensatory damages in an amount to be determined, plus
   14   statutory interest;
   15          2.     For restitution in an amount to be determined, plus statutory interest;
   16          3.     For a declaration that DEFENDANT is obligated to pay plaintiff all
   17   monies owed for services rendered to the Patient; and
   18          4.     For such other relief as the Court deems just and appropriate
   19
        .
   20   Dated: May 25, 2022                     LAW OFFICE OF JONATHAN A.
   21                                           STIEGLITZ
   22                                           By: /s/ Jonathan A. Stieglitz
   23                                               JONATHAN A. STIEGLITZ
                                                    Beach District Surgery Center
   24

   25

   26
                                   DEMAND FOR JURY TRIAL
   27
              Plaintiff, Beach District Surgery Center, hereby demands a jury trial as
   28
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                                            COMPLAINT
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    1   provided by law.
    2

    3
        Dated: May 25, 2022               LAW OFFICE OF JONATHAN A.
                                          STIEGLITZ
    4

    5                                     By: /s/ Jonathan A. Stieglitz
                                              JONATHAN A. STIEGLITZ
    6                                         Attorneys for Plaintiff,
    7                                         Beach District Surgery Center

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                                       COMPLAINT
